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NEW YORK STATE DEPARTMENT OF HEALTH
                                                                   Immunization Requirements for School Attendance
Bureau of Immunization/Division of Epidemiology                    Medical Exemption Statement for Children 0-18 Years of Age

NOTE: THIS EXEMPTION FORM APPLIES ONLY TO IMMUNIZATIONS REQUIRED FOR SCHOOL ATTENDANCE

Instructions:
  1. Complete information (name, DOB etc.).
  2. Indicate which vaccine(s) the medical exemption is referring to.
  3. Complete contraindication/precaution information.
  4. Complete date exemption ends, if applicable.
  5. Complete medical provider information. Retain copy for file. Return original to facility or person requesting form.



  1. Patient’s Name
  2. Patient’s Date of Birth
  3. Patient’s Address
  4. Name of Educational Institution


Guidance for medical exemptions for vaccination can be obtained from the contraindications, indications, and precautions described in the vaccine
manufacturers’ package insert and by the most recent recommendations of the Advisory Committee on Immunization Practices (ACIP) available
in the Centers for Disease Control and Prevention publication, Guide to Vaccine Contraindications and Precautions. This guide can be found at the
following website: http://www.cdc.gov/vaccines/recs/vac-admin/contraindications.htm.

  Please indicate which vaccine(s) the medical exemption is referring to:

            Haemophilus Influenzae type b (Hib)                           Measles, Mumps, and Rubella (MMR)
            Polio (IPV or OPV)                                            Varicella (Chickenpox)
            Hepatitis B (Hep B)                                           Pneumococcal Conjugate Vaccine (PCV)
            Tetanus, Diphtheria, Pertussis (DTaP, DTP, Tdap)              Meningococcal Vaccine (MenACWY)


Please describe the patient’s contraindication(s)/precaution(s) here:




Date exemption ends (if applicable)




A New York State licensed physician must complete this medical exemption statement and provide their information below:

Name (print)                                                                                       NYS Medical License #

Address

			                                                                                                Telephone

Signature                                                                                          Date

For Institution Use ONLY: Medical Exemption Status             Accepted      Not Accepted Date:

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